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Nov l, 2012

DALLAS/FORT WORTH INTERNATIONAL AIRPORT
Terminal D, Intemational Arrivals 2333

DFW Airport, TX 7 5261

US

GEORGE ANIBOWEI
934 COLORADO DR
ALLEN, TX 750134851
US

Re: You have been approved to participate in the Global Entry program Membership #982902958
Dear GEORGE ANIBOWEI :

We are pleased to inform you that your U. S. Customs and Border Protection (CBP), Global Entry
program membership has been approved. You may use the program as soon as you receive and activate
your new Global Entry card.

If you enrolled in Global Entry, you may begin using the kiosk immediately Global Entry cards are only
issued to Global Entry members who are U.S. citizens, Lawful Permanent Residents or Mexican

Nationals (who are not current SENTRI members). Global Entry cards are not valid at the Global Entry
kiosks.

Please visit globalentry. gov to review the program criteria for detail information

As a reminder, you must closely adhere to the program requirements and any violation of law or
regulation may lead to the revocation of your program participation, and could result in the issuance of a
penalty, seizure action, or criminal prosecution Please periodically review the program requirements
provided during your enrollment interview.

Thank you for applying to the CBP's Trusted Traveler Programs. For more information regarding Global
Entry, please contact an enrollment center nearest you, or visit globalentry.gov.

Respectfully,

Director, Trusted Traveler Programs
U. S. Customs and Border Protection

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